Case 16-19065-KCF      Doc 51 Filed 04/06/19 Entered 04/07/19 00:38:06       Desc Imaged
                            Certificate of Notice Page 1 of 3




                                                                Order Filed on April 4, 2019
                                                                          by Clerk
                                                                  U.S. Bankruptcy Court
                                                                  District of New Jersey




DATED: April 4, 2019
Case 16-19065-KCF   Doc 51 Filed 04/06/19 Entered 04/07/19 00:38:06   Desc Imaged
                         Certificate of Notice Page 2 of 3
        Case 16-19065-KCF              Doc 51 Filed 04/06/19 Entered 04/07/19 00:38:06                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 16-19065-MBK
Exclusive Detailing, Inc.                                                                                  Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Apr 04, 2019
                                      Form ID: pdf903                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 06, 2019.
db            #+Exclusive Detailing, Inc.,   5 Everett Court,   Caldwell, NJ 07006-8022

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 06, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 4, 2019 at the address(es) listed below:
              Bruce H Levitt   on behalf of Debtor   Exclusive Detailing, Inc. blevitt@levittslafkes.com,
               sslafkes@levittslafkes.com;lspcattorneys@gmail.com;hbr69524@notify.bestcase.com;lsbankruptcynotic
               es@gmail.com
              John Sywilok    sywilokattorney@sywilok.com, nj26@ecfcbis.com
              John Sywilok    on behalf of Trustee John Sywilok sywilokattorney@sywilok.com, nj26@ecfcbis.com
              John R. Morton, Jr.   on behalf of Creditor   Ally Financial ecfmail@mortoncraig.com,
               mortoncraigecf@gmail.com
              Robert Wisniewski    on behalf of Plaintiff Marcio Ribeiro rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              Robert Wisniewski    on behalf of Plaintiff Ivonaldo Brito Andrade rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              Robert Wisniewski    on behalf of Plaintiff Claudio Ricardo Da Costa Menezes rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              Robert Wisniewski    on behalf of Plaintiff Giancarlo Batista-Santos rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
              Robert Wisniewski    on behalf of Plaintiff Diego Batista-Santos rw@rwapc.com,
               office@rwapc.com;arp@rwapc.com
                                                                                            TOTAL: 9
